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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



   RONALD T. MCKELVEY,

                          Plaintiff,

   v.                                                     Civil Action No. 14-02382 (SDW/MCA)

   PHD VIRTUAL TECHNOLOGIES, [NC.,
   MICHAEL TRIPLETT, RICHARD WELLS,
   KEVIN KLAUSMEYER, INSiGHT VENTURE
   PARTNERS, INSIGHT VENTURE PARThERS                     Electronically Filed
   MANAGEMENT, LLC, INSIGHT VENTURE
   PARTNERS VI, L.P., INSIGHT VENTURE
   PARTNERS VI (CO-INVESTORS), L.P.,
   INSIGHT VENTURE PARTNERS VI
   (CAYMAN), L.P., UNTTRENDS HOLDINGS
   CORPORATION, PHD HOLDINGS, LLC,

                          Defendants.



    STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE OF ALL CLAIMS
                       AGAINST ALL DEFENDANTS


          WHEREAS, on April 3, 2014, Ronald T. McKelvey filed a Verified Complaint in the

   Superior Court of the State of New Jersey, County of Morris, captioned Ronald T. McKelvey v.

   PHD Virtual Technologies, Inc., et al., bearing docket number MRS-C-0047-14, against

   Unitrends Holdings Corporation, Inc., PHD Virtual Technologies, Inc., PHD Holdings, LLC,

   Insight Venture Partners Management, LLC, Insight Venture Partners VI, LP, Insight Venture

   Partners (Cayrnan) VI, LP, Insight Venture Partners VI (Co-Investors), LP, Michael Tnplett,

   Richard Wells, and Kevin Klausmeyer (collectively, the “Defendants’);


          WHEREAS, on April 14, 2014, Defendants filed a Notice of Removal in accordance with

   the provisions of 28 U.S.C.   § 1441 and 1446, thereby removing this action to this Court;
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           WHEREAS, on April 17, 2014, Plaintiff filed a First Amended Verified Complaint in the

   above-captioned action and on May 2, 2014 filed a Motion to Remand;


           WHEREAS, on August 21, 2014, the Parties agreed upon the material financial terms of

   an amicable resolution of their dispute in a settlement and status conference with the Honorable

   Madeline C. Arleo, U.S.M.J., which confidential agreement was reduced to writing in a

   Confidential Settlement Agreement and Mutual General Release and entered into on September

   9,2014;


           NOW THEREFORE, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

   Procedure, Plaintiff and the Defendants, having reached an agreement amicably resolving their

   dispute, and the parties appearing through counsel, hereby stipulate, based on the commitments

   of the parties, as follows:


           1.      Plaintiff dismisses this proceeding with prejudice;


           2.      Each party shall bear its own costs and fees, including attorney’s fees; and


           3.      This Court retains jurisdiction to enforce this Stipulation and Order of Dismissal
   and any other agreements between the parties related to this Stipulation and Order of Dismissal.


           4.      Either party may reopen and seek enforcement of this Stipulation by filing a

   motion, which at the Court’s discretion shall be referred to Judge Arleo, if she is available.

                                     Il,Y;
   IT IS SO ORDERED ON THIS         / (    DAY OF SEPT]                  2014




                                                                                  U.S.D.J.


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   The undersigned counsel hereby stipulate to the form and entry of the within Order.

   Dated: September 18, 2014

       /s/ Gerald B. Sweeney

   By:_____________________________
        Gerald B. Sweeney

   SWEENEY LEV LLC
   460 Bloomfield Avenue, Suite 200
   Montclair, New Jersey 07042
   (973) 509-1800

   Attorneys.for Plaintiff

       /s/ Liza M. Walsh

   By:____________________________
        Liza M. Walsh

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   Roseland, New Jersey 07068
   (973) 535-0500

   Attorneys for Defendants




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